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		OSCN Found Document:RE AMENDMENT TO DISPOSITION OF SURPLUS PROPERTY

					

				
  



				
					
					
						
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				RE AMENDMENT TO DISPOSITION OF SURPLUS PROPERTY2020 OK 95Decided: 11/23/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 95, __ P.3d __

				

RE: Amendment to Disposition of Surplus Property, Rules for Management of the Court Fund, 20 O.S., Chap 18, App 1, Rule 10 (C)



ORDER



Rule 10 (C) of the Rules for Management of the Court Fund, is hereby amended as shown on the attached Exhibit "A". The amended rule shall be effective immediately.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 23rd day of NOVEMBER, 2020.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR


&nbsp;


&nbsp;

--- EXHIBIT A ---

Title 20

Chapter 18 -- Court Fund
Appendix 1 -- Rules for Management of the Court Fund
Rule 10 -- Disposition of Surplus Property

As authorized by 20 O.S. §1314, the following provisions shall govern the disposition of surplus property acquired or purchased by the local court fund.

A. Any worn out, outmoded, inoperable or obsolete equipment, furniture or other property purchased with local court funds for a district court or court clerk may be declared surplus by the Court Fund Board by written resolution of the Board describing the property and manner of disposal.

B. Such property may be disposed of by any of the following methods;



1. By trade-in to cover part of the cost of equipment or furniture to be acquired by purchase;
2. By separate cash sale where it appears that a greater amount can be recovered than could be realized by exchange or trade-in;
3. By transfer to another court clerk or district court;
4. By transfer to another county office in the same county; or
5. By junking, if the property has no value.



C. Except as provided in paragraph D below, before surplus items may be sold, a list of the items must be submitted to the Administrative Office of the Courts for distribution to the other district courts and court clerks, unless otherwise authorized by the Chief Justice. The Court Fund Board of any county may request such surplus property be transferred by a written resolution of the Court Fund Board having the surplus property. If no request for transfer to another court clerk or district court is received within 30 days from the notification to the Administrative Office of the Courts, the surplus items may be sold in accordance with this rule.

D. Property with a current value which is less than the amount required for inclusion in the county inventory as set forth in 19 O.S. Supp. 2012 §178.1, or as hereafter may be amended, may be junked or disposed of in any manner deemed appropriate by the Court Fund Board without first being offered to the other district courts and court clerks.

E. The cash sale of property by the Court Fund Board may be by any of the following methods or combinations of methods:



1. At public auction or internet auction after public advertisement;
2. By inclusion in the sale of surplus county property by county commissioners; or
3. Sale after securing one or more bids in writing.



F. At any auction, the Court Fund Board shall reserve the right to reject any and all bids and remove the item from sale.



1. All proceeds of a sale of surplus property shall be deposited in the court fund.
2. The records of all sales, including all bids received, shall be retained for a period of not less than three (3) years.
3. All costs incurred in any sale shall be paid from the proceeds of the sale.



G. Within 30 days after the disposition of any surplus property, the Court Fund Board shall provide documentation of the date and manner of disposal to the Board of County Commissioners. The Board of County Commissioners shall record the disposal information and shall remove the disposed items from any county inventory lists.





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